                Case 1:20-cr-00174-NODJ-BAM Document 77 Filed 11/20/20 Page 1 of 2
AO 98 (Rev. 12/11- EDCA [Fresno 11/13]) Appearance and Compliance Bond



                                    UNITED STATES DISTRICT COURT
                                                                    for the
                                                 Eastern District of California                                      FILED
                                                                                                                    Nov 20, 2020
UNITED STATES OF AMERICA,                                                                                        CLERK, U.S. DISTRICT COURT
                                                                         )                                     EASTERN DISTRICT OF CALIFORNIA


                                 v.                                      )
                                                                         )
                                                                                Case No.       1:20-cr-00174-DAD-BAM
                                                                         )
JUAN MARTINEZ REYES,                                                     )
                              Defendant

                                           APPEARANCE AND COMPLIANCE BOND

                                                          Defendant’s Agreement
I, Juan Martinez Reyes                                          (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
           (    ) to appear for court proceedings;
           (    ) if convicted, to surrender to serve a sentence that the court may impose; or
           (    ) to comply with all conditions set forth in any Order Setting Conditions of Release for me.

                                                                Type of Bond
(     ) (1) This is a personal recognizance bond.

(     ) (2) This is an unsecured bond of $                                                    , with net worth of: $

(     ) (3) This is a secured bond of $            20,000.00                          , secured by: Elizabeth Pamplona

        (     ) (a) $                                  , in cash deposited with the court.

        (     ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                (describe the cash or other property, including claims on it – such as a lien, mortgage, or loan – and attach proof of
                 ownership and value):
                 $20,000 collateral bond secured by the equity in the property located at 1703 West Tyson Avenue
                 in Tulare, California.                                                                                      .
                 If this bond is secured by real property, documents to protect the secured interest may be filed of record.

        (     ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):


                                                                                                                                                .

                                                    Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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11/20/2020                             /s/ Esther Valdez



   11/20/2020
